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October 28, 2022

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

Re: United States v. Donnell Russell, 20 Cr. 538 (PGG)

Dear Judge Gardephe,

      I write on behalf of Defendant Donell Russell to respectfully request a brief
adjournment and continuance of the deadlines for sentencing submissions and the
sentencing hearing in this matter. The request is based on: 1) the fact that the draft
Presentence Investigation Report was just disclosed today; and 2) Mr. Russell’s
sentencing date in his related case in the Eastern District of New York. The
government concurs in this request.

      On July 25, 2022, following Mr. Russell’s conviction at trial on count two,
the Court set the following sentencing dates:

             October 31, 2022:          Defendant’s submission
             November 7, 2022:          Government’s submission
             November 21, 2022:         Sentencing hearing

      On July 26, 2022, Mr. Russell pleaded guilty in the Eastern District of New
York to count one of the indictment in United States v. Russell, 20-CR-427. Mr.
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Russell’s sentencing hearing in the Eastern District of New York is currently set
for November 17, 2022 and his sentencing submission is due on November 3,
2022. The Presentence Investigation Report in that case was disclosed on October
18, 2022. It is therefore expected that sentencing will proceed in that case as
currently scheduled.

      In the instant case, the Presentence Investigation Report was just disclosed
today. Mr. Russell now needs time to review it with his counsel and to then
prepare any objections and his sentencing position. Additionally, because of the
connection between the two cases, Mr. Russell’s sentencing position in the instant
case will be based in part on the sentence imposed in the Eastern District of New
York case. As a result, Mr. Russell respectfully requests an adjournment of the
current sentencing date and a brief, approximately one-month continuance. The
Government concurs in this request.

     Mr. Russell respectfully proposes the following dates, with which the
Government also concurs:

             December 5, 2022:         Defendant’s submission
             December 12, 2022:        Government’s submission
             December 19, 2022:        Sentencing hearing

(Mr. Russell and I are each travelling from out of state, and can also be available on
December 20 or 21 if those dates are more convenient for the Court. Unfortunately,
I cannot be available on December 22 or 23).

      Thank you for your consideration of this request.

                                 Respectfully submitted,

                                 THE FREEDMAN FIRM PC

                                 By:   _________________________
                                       Michael G. Freedman

cc: Counsel for the government (via ECF)
